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     Monisha Kleinberg
                            23cv1 3830
                            Judge Coleman
                            Magistrate Judge Cole
                            RandomlY Assigned CAT 2
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 3
     409 S 4TH ST
     MonishaKleinb er g@protonmail. com

                                          UNITED STATES FEDERAL COURT
                                                                           "d**,1
                                                                             *%
                                          NORTHERN DISTRICT OF ILLINOIS
 5
     MOMSHA KLEINBERG,                                   Case No.:
 6
                     Plaintiff,
 7
     vs.                                                 COMPLAINT FOR REQUEST OF
 8                                                       INFORMATION AND PRIVACY; ENSURED
     UNITED DEPARTMENT OF LABOR ("DOL");                 PRTVACY PROTECTIONS ; RICO (RACKETEER
 9   INTERNAL REVENUE SERVICE (.OIRS,,); BETTER          INFLUENCED AND CORRUPT
     BUISNESS BUREAU ("BBB"),                            ORGAI\IZATIONS ACT) INFLUENCED; DATA
10                                                       PRIVACY ACT OF 1974
                     Defendant
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                     Dated of September 18,2023
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                                                         Pro Se Litigant
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 I
                                        CLAIM
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            l. Due of various forms ofjoint fraud, harassment and abuses entailed in other claims.
 4   Plaintiffis requesting that defendant agencies give and review personal identifiable information

 5   Plaintiffwas required to submit to Casey's retail store (located in Watseka, Illinois) for
 6
     employment as Plaintiffworked at for few short months before ultimately quitting. Upon belief
 7
     Plaintiffholds that her personal has been and/or is being held and accessed outside out job
 8

     responsibilities by the female manager at said location in junction with a fraudulent power of
 9


10   attomey held by a June Herdle. Plaintiffentails of the female manager in an IRS Identity Theft

ll   Affidavit submitted in person by Plaintiffon August 24,2023. Plaintiffasks that it is ensured
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     that her personal information is not nor has been illegally disseminated nor has not been enabled
13
     to be disseminated or viewed outside work context by June Herdle and that her privacy is
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     maintained via The Privacy Act. Any ties had with an apparent Power of Attorney are fraudulent
t5

t6   and illegal. Plaintiff declares such void and un-permissible. Suit has been filed regarding claim

t7   identity theft and organized crime (23-CV-9863; Judge Valderrama) Kleinberg vs. Internal
l8
     Revenue Service ("IRS"); Office of Inspector General ("OIG"); Department of Justice ("DOJ");
19
     U.S Privacy and Civil Liberties Oversight Board ("PCLOB"); Mundelein High School; Terrorist
20
     Screening Center ("TSC") of the Federal Bureau of Investigation ("FBI")).
2t

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                                                                                      that Plaintiff s
23
     [This is a written 5 page claim] [Note for document retrieval within databases

     previous last name was 'Herdle' and is in legal process of change.] [This is a second filing of
24

25
     original proceedings due of court tampering; intended to derail Plaintiff Kleinberg. Other such
26
     court tampering, in fact, detailedin23-cv-9863. 'RICO influenced' specification made]
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           Case: 1:23-cv-13830 Document #: 1 Filed: 09/18/23 Page 3 of 5 PageID #:3




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                                         Parties
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            United States Department of Labor ("DO!")
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 5      1. According to site the DOL exists to: "To foster, prornote, and develop the welfare of the
 6   wage earners, job seekers, and retirees of the United States; improve working conditions;

 7
     advance opportunities for profitable employment; and assure work-related benefits and rights"
 8
     Its address is 200 Constitution Ave NW, Washington, DC 20210.
 9


10


il          Internal Revenue Service ("IRS"):
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        2. Created to adrninister and enforce internal revenue laws enacted by the Treasury
r3
     Secretary Act. According to its website: "The Internal Revenue Service is the nation's tax
t4
     collection agency and adrninisters the Intemal Revenue Code enacted by Congress"
l5   The IRS is located at 1 1 I Constitution Ave., NW Washington D.C.20224.
t6

t7

l8          Better Business Bureau ("BBB")

l9      3. Creates trusted guidelines to encourage and support business practice. According to the
20
     BBBs' website their mission is to be at the forefront of marketplace trust. "BBB's mission is to
2l
     be the leader in advancing marketplace trust." Its address is 1411 K Street, NW, 10th Floor
22

23
     Washington, DC 20005 -3404.

24                               Jurisdiction and venue
25
        4. This court has subject matter jurisdiction pursuant to 28 u.S.c 1331.
26
     Due of lawsuit alleging violation of the United States Constitution and federal statues, it raises
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     questions of federal law.
28                                                                                             3 I I'.r\ ti t
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 I   protect civil rights, this court also has jurisdiction under 28 U.S.C. $ 1343. Because

2    tlrose violations include violatiotrs of the Privacy Act 5 U.S.C 552 (aXeX7),, this coutt has

3
     jurisdiction under 5 U.S.C. (aXg)(lXb).

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 7                                          Praver
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        6. Review of all personal identifiable information and its dissemination from business place
 9

     Casey's retail store.
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1l       7. Ensure it is not being accessed or disseminated by June Herdle in any manner with any
t2   individuals and if so to cease said interaction and said transmitting.
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         8. Ensure that Plaintiff s information is not being illegally used or held and is safeguarded.
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Dated: 0911812023




                                                By: Monisha Kleinberg; Pro Se Litigant

                                                'fA{W AtnbF




                                                                            5lPAClt.:
